Case 2:22-cv-12951-MAG-JJCG ECF No. 52, PageID.767 Filed 05/03/23 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                                Case No. 22-cv-12951
                                                     Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

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 elizabeth@abdnour.com                            Wayne County Building Authority
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______________________________________________________________________________


                     AMENDED APPEARANCE OF ANGELA L. BALDWIN

       PLEASE TAKE NOTICE that Angela L. Baldwin of The Miller Law Firm, P.C. hereby

enters her Appearance on behalf of Defendants, Wayne County and Wayne County Building

Authority, in the above-captioned matter. Please serve all notices, copies of pleadings, papers and

other relevant materials upon the undersigned.
Case 2:22-cv-12951-MAG-JJCG ECF No. 52, PageID.768 Filed 05/03/23 Page 2 of 3




                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/Angela L. Baldwin
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                                               Attorneys for Defendants, Wayne
                                               County and Wayne County Building
                                               Authority
Dated: May 3, 2023




                                      2
Case 2:22-cv-12951-MAG-JJCG ECF No. 52, PageID.769 Filed 05/03/23 Page 3 of 3




                           STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                             Case No. 22-cv-12951
                                                  Hon. Mark A. Goldsmith
       Plaintiffs,

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STATE OF MICHIGAN, et al.,

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 Attorneys for Plaintiff
______________________________________________________________________________


                                  PROOF OF SERVICE

       Angela L. Baldwin certifies that on May 3, 2023, she caused to be served Amended Notice

of Appearance of Angela L. Baldwin and this Proof of Service upon all counsel of record via

electronic filing system.

                                                         /s/ Angela L. Baldwin
                                                         Angela L. Baldwin
Dated: May 3, 2023
